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 8
                                 UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                    SAN FRANCISCO DIVISION
11
12
13   UNITED STATES OF AMERICA,                     Case No. 20-CR-00365-MMC
14                 Plaintiff,                      NOTICE OF MOTION AND MOTION
                                                   FOR COMPASSIONATE RELEASE
15         v.
16   LEWIS WALLACH,
17                Defendant
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 1   TO:    THE UNITED STATES THROUGH ASSISTANT UNITED STATES ATTORNEY
 2          LLOYD FARNHAM
 3          PLEASE TAKE NOTICE that on a date and time to be set by the Court, before the
 4   Honorable Maxine M. Chesney, Lewis Wallach will and hereby does move the Court for an
 5   order releasing him from the custody of the Bureau of Prisons and imposing home detention as a
 6   condition of supervised release. This motion is based on 18 U.S.C. section 3582, the files and
 7   records in this action, the attached memorandum of points and authorities, the concurrently filed
 8   declaration of counsel and Carole Santos, and on such argument as may be made at the hearing.
 9
10
     Dated: December 1, 2023                             Respectfully submitted,
11
12                                                       /s/ Edward Swanson                        .
                                                         Edward Swanson
13                                                       Carly Bittman
14                                                       SWANSON & McNAMARA LLP
                                                         Attorneys for Lewis Wallach
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 1   I.     INTRODUCTION
 2          In January 2023, as a direct result of the Bureau of Prison’s negligent medical treatment,
 3   Mr. Wallach fell and suffered a traumatic brain injury that will impair his ability to think, chew,
 4   swallow, walk, and otherwise take care of himself, likely for the rest of his life. This horrific
 5   injury makes clear that the BOP is unable to care for Mr. Wallach or keep him safe. At the time
 6   of his fall, Mr. Wallach’s was already housed in a medical facility that provides the highest level
 7   of care in the BOP system. But even in a facility designed to provide 24-hour nursing care, the
 8   BOP failed to prevent a completely foreseeable accident. The resulting harm cannot be undone,
 9   but things could certainly get worse.
10          Mr. Wallach remains unable to care for himself and is at heightened risk of further injury
11   and illness. It is not hyperbole to say that Mr. Wallach’s life is in danger. This danger is
12   multifaceted. He requires a wheelchair and, because he can forget his own limitations, continues
13   to be a fall risk. Indeed, he has fallen multiple times since returning from his month-long stay in
14   the hospital. He is also at risk of silent aspiration (the accidental inhaling of foods or liquids)
15   because his brain injury prevents him from properly chewing and swallowing. This in turn could
16   lead to a dangerous infection in his lungs. His neurological damage also causes confusion,
17   impairs his memory and judgment, and hampers his ability to communicate, all significant
18   dangers in a prison environment.
19          A review of Mr. Wallach’s medical records reveals a pattern of inconsistent
20   documentation, overlooked symptoms, and delayed interventions, all of which suggest systemic
21   issues in the coordination and quality of Mr. Wallach’s care. Unfortunately, these problems are
22   not unique to Mr. Wallach, although they are especially dangerous in Mr. Wallach’s case given
23   his complex set of medical issues. The BOP’s inability to hire enough medical professionals to
24   adequately care for inmates with complex needs such as Mr. Wallach has been documented in
25   the many reports, news articles, and court cases described in this motion. Mr. Wallach requests
26   that he be released from BOP custody so that he can obtain the therapies he needs to best recover
27   from his brain injury and ensure that his many chronic conditions do not result in an
28   unnecessarily early death.


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 1   II.    RELEVANT BACKGROUND
 2          A)      Trial Court Proceedings and Incarceration History
 3          The Court sentenced Mr. Wallach to 144 months in custody following his guilty plea to
 4   wire fraud and conspiracy to commit wire fraud. Dkt. 63. Mr. Wallach self-surrendered to FCI
 5
     Terminal Island in January 2022. He remains incarcerated at MCFP Springfield, a medical
 6
     facility, with a projected release date of August 2031. See https://www.bop.gov/inmateloc/.
 7
            B)      The Events Leading to Mr. Wallach’s Traumatic Brain Injury
 8
            Mr. Wallach is 67 years old. As reported to the Court at sentencing, Mr. Wallach has
 9
     long suffered from several significant and chronic health conditions. Dkt. 37 (Letter from Dr.
10
     Michael Farzam, filed under seal). Mr. Wallach’s diagnoses at the time of sentencing included
11
     sarcoidosis (a chronic inflammatory disease), stage 3 cirrhosis of his liver, chronic kidney
12
13   disease, atrial fibrillation, type 2 diabetes, hypertension, asthma, and bronchiectasis. Id.; see also

14   Dkt. 32 (Presentence Investigation Report, ¶¶ 60-61).

15          Soon after entering FCI Terminal Island at the beginning of 2022, Mr. Wallach’s health

16   quickly declined. He sought medical attention for back pain. He was given Tylenol. He later
17   lost consciousness, fell, and was taken to the hospital. He was found to be bleeding internally
18   and suffering from severe blood loss. He required several blood transfusions and 13 days in the
19   hospital. Exhibit A to the Declaration of Carly Bittman, pgs. 1-13.
20          In May 2022, Mr. Wallach was transferred from FCI Terminal Island to MCFP
21
     Springfield, a federal medical center, due to his poor medical condition and the assistance he
22
     needed with activities of daily living. Id. at 14-16. Staff correctly determined that Mr. Wallach
23
     was a fall risk. They noted that he could not walk without an assistive device and that he had a
24
     history of falls, weakness, and dizziness. Id. at 17. Staff also noted that Mr. Wallach diagnosis
25
     of Parkinson’s disease created a fall risk. Id. at 18.
26
            On December 21, 2022, Mr. Wallach fainted. BOP staff remarked that the episode may
27
     have been caused by low blood sugar. Id. at 20. Indeed, in the days leading up to and following
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 1   this episode, Mr. Wallach’s blood glucose levels were alarmingly below the normal range. Id. at
 2   21-22 (listing blood glucose levels on December 17, 2023, December 21, 2023, and December
 3   30, 2023). Mr. Wallach is diabetic. Normally, a blood sugar this low is considered
 4   hypoglycemic and, at a minimum, would require close monitoring in the form of blood sugar
 5
     checks three or four times a day until the problem was resolved. Declaration of Carole Santos,
 6
     ¶5. This was not done. Id. Mr. Wallach was not treated, and no changes were made to his
 7
     medications or plan of care. Id.
 8
            On January 5, 2023, Mr. Wallach reported that a medication he received to manage his
 9
     diabetes was making him “shaky and dizzy.” Exhibit A at 21. Medical staff temporarily
10
     discontinued the medication but otherwise did not provide Mr. Wallach with any treatment. Id.
11
     They did not institute additional precautionary measures to prevent another fall. Id. Nor did
12
13   they institute additional, frequent checks of Mr. Wallach’s blood glucose level or vitals to

14   monitor his progress after they paused the medication. Santos Declaration, ¶6.

15          Just three days later, on January 8, Mr. Wallach fell and suffered a catastrophic brain

16   injury. Id. Nobody knows how long Mr. Wallach lay there unresponsive before he was found.
17   He was intubated and placed on a ventilator. A feeding tube was inserted. During emergency
18   triage at the hospital, Mr. Wallach tested positive for M. catarrhalis, a bacterial pathogen
19   associated with respiratory infections, and was simultaneously diagnosed with coronavirus, acute
20   respiratory failure, influenza, and pneumonia. He spent the next 25 days in the hospital. Exhibit
21
     A at 23-35. His wife was told that he might not survive. Miraculously, he did survive, albeit
22
     with several physical and mental deficits that are likely permanent, as described below.
23
            Mr. Wallach’s fall was wholly preventable. Santos Declaration, ¶¶8-9. Someone this
24
     sick on January 8 would have had observable symptoms on January 5, the date on which Mr.
25
     Wallach sought medical care for feeling “shaky and dizzy.” Id. Yet BOP staff failed to
26
     recognize (or simply ignored) how sick Mr. Wallach was. Id. In addition to stopping the
27
     medication that medical staff believed caused the low blood sugar, they should have monitored
28

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 1   him closely for several days to confirm the intervention resolved the problem. Id. This
 2   monitoring would not have only caught any ongoing issues with his diabetes, it would have
 3   caught that Mr. Wallach had been infected with multiple different pathogens and required
 4   treatment. Id. Mr. Wallach’s fall and brain injury were the direct result of this failure to
 5
     properly monitor, assess, and treat Mr. Wallach after his prior fainting spells, complaints of
 6
     dizziness, dangerously unstable glucose levels, and infection by multiple pathogens. Id.
 7
             When Mr. Wallach returned to MCFP Springfield, he had lost 40 pounds. His condition
 8
     was described as follows: “Slow recovery of Alertness and speech, and mobility due to severe 4
 9
     extremity weakness obtundation. Unable to care for self, high fall risk, aspiration risk, risk for
10
     skin breakdown. ++ mobility deficits. Needs PT/OT/SLP.” He still had a feeding tube, and his
11
     hands had to be restrained because he did not understand that he could not pull at the tube. The
12
13   BOP recognized he needed “full supportive care.” An assessment of his mental status put him in

14   the category of someone suffering from dementia. Exhibit A at 36-37.

15           On February 5, 2023, just a few days after his return from the hospital, Mr. Wallach again

16   fell and hit his head. He was found on the floor next to his bed, unable to explain why he had
17   tried to get up. Id. at 38-39. Mr. Wallach was confused and had difficulty understanding
18   medical staff’s questions. Id. He sustained bruising on his forehead and a skin tear to his right
19   forearm. Id. at 25. Mr. Wallach fell again in June 2023, although this more recent fall was not
20   documented in Mr. Wallach’s medical records. Santos Declaration, ¶11.
21
             Mr. Wallach’s falls in February and June 2023 were again the direct result of the BOP’s
22
     negligence in failing to institute basic fall precautions for someone with Mr. Wallach’s
23
     condition. Santos Declaration, ¶¶10-12. With a patient experiencing confusion and other mental
24
     deficits, it is unreasonable to rely on the patient’s using a call light to prevent a fall, but that is
25
     precisely what the BOP did here. Id. Expecting a patient with a traumatic brain injury, poor
26
     memory, and impaired thinking to use a call light shows neglect, disregard for safety standards,
27
     and poor critical judgment on the part of medical staff. Id. At a minimum, medical staff should
28

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 1   have used a bed and chair alarm to ensure that Mr. Wallach did not attempt to stand or ambulate
 2   without their knowing. Id.
 3          These precautions are still not in place. Id. As a result, Mr. Wallach remains at risk for
 4   future falls and fall-related head injuries and fractures. For someone whose health is as fragile as
 5
     Mr. Wallach’s, one more fall-related injury could result in serious complications, even death. Id.
 6
            C)      Mr. Wallach’s Ongoing Need for Comprehensive Care and Assistance with
 7
                    Activities of Daily Living
 8
            Individuals with traumatic brain injuries need ongoing comprehensive care, including
 9
     physical therapy, occupational therapy, and mental health services. Santos Declaration, ¶15.
10
     Unfortunately, Mr. Wallach’s medical records demonstrate that the complexities of his injury
11
     have not been fully integrated into his care. Id. BOP staff have failed to recognize the extensive
12
     and interconnected effects of Mr. Wallach’s injury, leading to an oversimplified approach to his
13
     multifaceted symptoms and problems. Id.
14
            Nearly a month passed after Mr. Wallach’s hospital stay before he had a follow-up
15
16   appointment with a neurologist. Exhibit A at 40-45. He initially received speech therapy to help

17   with swallowing, speech, and memory deficits, but those sessions were discontinued after only

18   two months. Exhibit A at 52. Although Mr. Wallach improved with this therapy, he still

19   struggles with swallowing. Choking while eating or drinking has become a regular occurrence.
20   Santos Declaration, ¶13. This puts Mr. Wallach at risk of silent aspiration, which occurs when
21   someone inadvertently inhales foods or liquids. Id. Aspiration can lead to pneumonia, an
22   extreme danger for someone with fragile health such as Mr. Wallach. Id. More recently, Mr.
23   Wallach has also experienced increased saliva output, further increasing the risk of silent
24
     aspiration. Exhibit A at 61; Santos Declaration, ¶13.
25
            In terms of physical therapy, Mr. Wallach received an initial consultation in March 2023
26
     (over a month after his return from the hospital) and some sessions after that, but those sessions
27
     were stopped the following month. The provider stated that he was terminating the therapy
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 1   because of the vision deficits and cognitive impairments resulting from Mr. Wallach’s brain
 2   injury. Exhibit A at 46-48, 53-55. While Mr. Wallach later received some additional physical
 3   therapy to help him walk again, those sessions were again discontinued. He remains confined to
 4   a wheelchair, still unable to walk.
 5
            Mr. Wallach never received occupational therapy. Because he is in a wheelchair and has
 6
     limited use of his arm and hands, he still needs assistance with activities of daily living. Id. at
 7
     62-64. Mr. Wallach also continues to suffer from cognitive deficits. He has trouble
 8
     remembering, cannot focus, and experiences severe depression, anger, and mood swings. Id. at
 9
     56-60. These symptoms are commonly associated with traumatic brain injuries. Santos
10
     Declaration, ¶14. Mr. Wallach’s mental condition makes it difficult for him to comprehend and
11
     follow the instructions of officers and staff, increasing the risk of injury to Mr. Wallach and the
12
13   burden to BOP staff in caring for him. Id. These symptoms also impede Mr. Wallach’s ability

14   to absorb and retain information, which in turn prevents him from participating in the BOP’s

15   rehabilitative programs. Id.

16          D)      Mr. Wallach’s Medical Records Reveal Concerning Discrepancies in
17                  Documentation and Gaps in Care

18          Mr. Wallach’s medical records reveal concerning discrepancies in the BOP’s

19   documentation of Mr. Wallach’s condition. For example, a monthly nursing assessment from

20   March 2023 indicated that Mr. Wallach received thickened liquids, which is a means of
21   protecting against aspiration and choking, but the report also indicated that Mr. Wallach had no
22   difficulties chewing and swallowing. Santos Declaration, ¶16. That same assessment states that
23   Mr. Wallach’s memory is impaired yet contains a contrary indication that he has no barriers to
24   education. Id. As another example, an interdisciplinary team assessment in September 2023
25
     reported that Mr. Wallach had an “appropriate” affect, yet multiple providers had recently
26
     documented that Mr. Wallach was experiencing increased emotional outbursts. Id. More
27
28

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 1   generally, Mr. Wallach’s self-care deficit and mobility issues are recognized but not consistently
 2   addressed or documented. Id.
 3          Mr. Wallach’s medical records also indicate alarming gaps in care. Id., ¶17. For
 4   example, in April 2023, a speech therapist recommended that Mr. Wallach be given thin liquids
 5
     with certain parameters to prevent aspiration. Id. But to be safely implemented, this
 6
     recommendation requires daily monitoring to ensure compliance with the imposed parameters.
 7
     Id. It is unlikely this monitoring occurred, both because it was not documented and because it is
 8
     unlikely that the BOP staff can provide sufficient monitoring in light of ongoing staffing
 9
     shortages (which are discussed below). Id.
10
            As another example, in October 2023, Mr. Wallach complained of congestion, persistent
11
     cough, and nasal drainage for two weeks. Id. He was prescribed Flonase. Id. The provider
12
13   noted that Mr. Wallach had no symptoms of systemic illness but failed to assess breath sounds.

14   Id. Listening to lungs would be expected as part of an assessment of a patient with a history of

15   respiratory failure, a high aspiration risk, and a history of influenza, COVID, and pneumonia. Id.

16   One week later, Mr. Wallach returned to medical with worsening symptoms. Id. Mr. Wallach
17   was still not tested for coronavirus or influenza, despite his symptoms and the onset of flu
18   season. Id. The provider diagnosed a sinus infection and prescribed antibiotics but did not
19   discontinue the Flonase. Id. This is part of a pattern of delayed adjustments to medication and a
20   disconnect between various healthcare providers’ assessments and the actual interventions
21
     provided. Id.
22
            These patterns of inconsistent documentation, overlooked symptoms, and delayed
23
     interventions suggest systemic issues in care coordination and quality. Id. These problems are
24
     in turn symptomatic of MCFP Springfield’s poor care management practices and the BOP’s
25
     system-wide inability to obtain adequate staff as documented in several court orders and
26
     published reports. In sum, the BOP is currently capable of providing Mr. Wallach with
27
     appropriate care. Id. He will suffer if he remains in a custodial setting. Id.
28

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 1
            E)      A Staffing Shortage Prevents the BOP from Providing Adequate Care to
 2                  Inmates with Complex Health Concerns Like Mr. Wallach
 3          In correctional healthcare settings, multiple factors contribute to the systemic problem of
 4   inadequate care. Santos Declaration, ¶3. High patient-to-nurse ratio, staffing shortages, and high
 5   workload stress increase the likelihood of errors. Id. These problems are longstanding and well-
 6   documented in the BOP. Id. For years, staffing shortages have prevented the federal prison
 7   system from effectively addressing the medical needs of its inmate population.
 8
            In 2016, the Office of the Inspector General found that the “recruitment of medical
 9
     professionals is one of the BOP’s greatest challenges and staffing shortages limit inmate access
10
     to medical care[.]” Exhibit B to the Bittman Declaration at pg. i. This problem was exacerbated
11
     by the COVID-19 pandemic and continues to undercut the BOP’s ability to provide timely and
12
     appropriate care to its wards. Exhibit C to the Bittman Declaration at pgs. 44-54 (Capstone
13
     Review of the Federal Bureau of Prisons’ Response to the Coronavirus Disease 2019 Pandemic);
14
     Exhibit D to the Bittman Declaration at pgs. 38-50 (Review of Personnel Shortages in Federal
15
16   Health Care Programs During the COVID-19 Pandemic); Exhibit E to the Bittman Declaration at

17   pgs. 34-36 (OIG report describing effects of staffing shortages on health care at FCI

18   Tallahassee); Exhibit F to the Bittman Declaration at pgs. 26-28 (report concluding that staff

19   shortages in FCI Waseca caused delays in treatment and more serious health issues for inmates).
20          A recent investigation by NPR into FMC Butner, one of seven medical centers in the
21   BOP system, revealed how a lack of appropriately trained medical staff can lead to serious, life-
22   threatening, or deadly consequences. Exhibit G to the Bittman Declaration. Speaking to
23   reporters, a correctional officer explained that “staff shortages are the primary reason inmates go
24
     without essential care.” Id. at 16-17. Because more than 20 percent of the nurse and paramedic
25
     positions at the facility were vacant as of September 2023, two nurses could be responsible for
26
     up to 30 inmate-patients. Id. at 17. In a letter to her regional director, the correctional officer
27
     wrote that “[d]eath is becoming the price paid for doing more with less at FCC Butner.” Id. at
28

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 1   18. “The quality of care proves to be deadly,” the officer wrote. Id. at 19. She explained that
 2   medical conditions and loss of life could have been prevented if adequate medical staff had been
 3   available. Id.
 4          There is reason to believe that these staffing shortages and resulting problems extend to
 5
     MCFP Springfield. The facility is currently recruiting medical staff for several different
 6
     positions, including a psychiatric physician, psychologist, dentist, nurse, advance practice nurse,
 7
     medical officer, clinical director, physician assistant, and nursing assistant. Exhibit H to the
 8
     Bittman Declaration. This staffing shortage is more important in Mr. Wallach’s case than it is
 9
     for most incarcerated people. His needs are complicated, he needs personnel who can help train
10
     him to walk and swallow, and failure to adequately monitor and support him could result in
11
     another fall, with potentially fatal consequences. In his case, these deficiencies can mean the
12
13   difference between life and death.

14          F)        Mr. Wallach’s Release Plan

15          Should the Court release Mr. Wallach, he would live with his sister in her home in the

16   Northern District. Mr. Wallach’s sister understands the significant medical care Mr. Wallach

17   requires and has agreed to assist him in setting up in-home nursing care. Mr. Wallach has
18   maintained supplemental medical insurance which will help with the cost of in-home care. His
19   wife will also assist with Mr. Wallach’s care. If it becomes necessary for Mr. Wallach to transfer
20   to a fulltime care facility, his family will work to find a suitable nursing home and communicate
21   fully with Probation to ensure Mr. Wallach is at all times in compliance with the terms of his
22
     supervision.
23
            G)        Exhaustion of Administrative Remedies
24
            The warden of MCFP Springfield denied Mr. Wallach’s most recent request for
25
     compassionate release on May 10, 2023. Exhibit I to the Bittman Declaration. This motion is
26
     accordingly ripe for the Court’s consideration under 18 U.S.C. section 3582(c)(1)(A).
27
28

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 1   III.   LEGAL STANDARD
 2          Under the First Step Act, courts may reduce a previously imposed sentence where
 3   “extraordinary and compelling reasons warrant such a reduction.” 18 U.S.C. § 3852(c). In
 4   determining whether release is warranted, courts are to consider “the factors set forth in section
 5   3553(a) to the extent that they are applicable.” Id. Sentence modification must be “consistent
 6   with applicable policy statements issued by the Sentencing Commission.” Id. Pursuant to 28
 7   U.S.C. § 994(a), the Sentencing Commission recently promulgated Amendments to the
 8   Sentencing Guidelines, providing the first guidance for the term “extraordinary and compelling
 9   reasons” since the First Step Act was passed. U.S.S.G. § 1B1.13.
10          With respect to a defendant’s medical condition, Section 1B1.13 lists circumstances
11   where a defendant may demonstrate an extraordinary and compelling reason for a sentence
12   modification. Two are relevant here. First, the defendant may demonstrate that they suffer from
13   “a serious physical or medical condition” or “a serious functional or cognitive impairment” that
14   “substantially diminishes” their ability “to provide self-care within the environment of a
15   correctional facility and from which he or she is not expected to recover.” U.S.S.G. §
16   1B1.13(b)(1)(B). Second, the defendant may demonstrate that they suffer from a “medical
17   condition that requires long-term or specialized medical care that is not being provided and
18   without which the defendant is at risk of serious deterioration in health or death.” Id. §
19   1B1.13(b)(1)(C).
20          More generally, under Section 1B1.13’s “residual exception,” a defendant can also
21   establish an extraordinary and compelling reason if he presents “any other” circumstances or
22   combination of circumstances that are “similar in gravity” to the other extraordinary and
23   compelling reasons listed in paragraphs (1)–(4) of § 1B1.13. U.S.S.G § 1B1.13(b)(5).
24   IV.    ARGUMENT
25
            A)      Mr. Wallach Has Established Extraordinary and Compelling Circumstances
26                  Warranting a Sentence Reduction
27          As detailed above, Mr. Wallach suffers from “a serious physical or medical condition”

28   and a “functional or cognitive impairment” that “substantially diminishes” his ability “to provide

                                                      10
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 1   self-care within the environment of a correctional facility and from which he or she is not
 2   expected to recover.” U.S.S.G. § 1B1.13(b)(1)(B). In addition to his traumatic brain injury, Mr.
 3   Wallach suffers from a host of chronic illnesses, including anemia, sarcoidosis, Parkinson’s,
 4   diabetes, hyperlipidemia, hypertension, gastroesophageal reflux disease, and chronic kidney
 5   disease. Mr. Wallach is confined to a wheelchair and has limited use of his arm and hands. He
 6   also has cognitive deficits that impair his memory and emotional stability. He needs BOP staff
 7   to help him with activities of daily living. While physical and occupational therapy may improve
 8   Mr. Wallach’s condition to some extent, he will need help for the rest of his life. Exhibit A at
 9   62-64.
10            In cases involving defendants with a similar inability to care for themselves,
11   compassionate release has been granted. See, e.g., United States v. Asaro, No. 17-CR-127
12   (ARR), 2020 WL 1899221, at *5 (E.D.N.Y. Apr. 17, 2020) (granting compassionate release to
13   defendant who was a high fall risk, occasionally needed assistance with feeding, and had an
14   extensive medical history); United States v. Bellamy, No. 15-CV-1658-JRT-LIB, 2019 WL
15   3340699, at *3 (D. Minn. July 25, 2019) (granting compassionate release to wheelchair-bound
16   defendant who had heart problems and suffered from diabetic kidney disease, among other
17   conditions); United States v. Gray, No. 2:02-CR-00018-JMS-CMM-13, 416 F.Supp.3d 784,
18   789–91 (S.D. Ind. Sept. 20, 2019) (granting compassionate release to 64-year old defendant who
19   had been hospitalized for multiple procedures, including chemoembolization of a liver tumor).
20            Release is also warranted under Section 1B1.13(b)(1)(C). Mr. Wallach’s traumatic brain
21   injury, whether considered alone or in combination with the long list of his other chronic
22   illnesses and conditions, requires both long term and specialized care. The BOP has not
23   provided this care, and it appears incapable of providing this care. Mr. Wallach needs therapies
24   to address his ongoing difficulty swallowing, inability to walk without a wheelchair, vision
25   deficits, emotional instability, and other mental deficits. Without that support, Mr. Wallach is at
26   increased risk of falling and suffering further injury, silently aspirating and developing a severe
27   respiratory illness, and otherwise further deteriorating both physically and mentally.
28

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 1          A number of courts have granted compassionate release where, as here, the BOP has
 2   failed to provide adequate medical treatment. See, e.g., United States v. Beck, 425 F. Supp. 3d
 3   573, 581-82 (M.D.N.C. 2019) (granting compassionate release for inadequate treatment of
 4   inmate’s breast cancer after months of delaying and postponing necessary procedures and
 5   appointments); United States v. Nieves-Feliciano, 2021 WL 1170317, at *5 (D. Conn. Mar. 29,
 6   2021) (granting compassionate release for inadequate medical care by BOP in failing to refer
 7   inmate to a specialist for unspecified circulatory system disorder); United States v. McCall, 465
 8   F. Supp. 3d 1201, 1209 (M.D. Ala. 2020) (granting compassionate release for failure of BOP to
 9   correctly diagnose, monitor, and provide treatment for inmate’s sickle cell disease); United
10   States v. Bardell, 634 F. Supp. 3d 1083 (M.D. Fla. 2022) (granting compassionate release after
11   BOP’s failure to treat colon cancer); United States v. Beck, 425 F. Supp. 3d 573 (M.D.N.C.
12   2019) (granting compassionate release after finding that the BOP provided the defendant with
13   “abysmal” treatment for breast cancer that compromised her prospects for survival); United
14   States v. Verasawmi, No. CR 17-254 (FLW), 2022 WL 2763518, at *8 (D.N.J. July 15, 2022)
15   (defendant’s health conditions, combined with the BOP’s slow and inadequate treatment of the
16   defendant’s hypertension, migraines, asthma, and depression, warranted release).
17          Finally, release is warranted under Section 1B1.13(b)(5)’s “residual exception.” The fact
18   that the BOP’s negligence in caring for Mr. Wallach resulted in a traumatic brain injury that will
19   impair his ability to think, chew, swallow, walk, and otherwise take care of himself, likely for the
20   rest of his life, constitutes a circumstance “similar in gravity” to the other extraordinary and
21   compelling reasons listed in paragraphs (1)–(4) of § 1B1.13. U.S.S.G § 1B1.13(b)(5).
22          For all of these reasons, extraordinary and compelling circumstances justify releasing Mr.
23   Wallach and ordering home confinement as a condition of supervised release.
24
            B)      The Section 3553(a) Factors Weigh in Favor of Reducing Mr. Wallach’s
25                  Sentence

26          The sentencing factors set forth in section 3553(a) also weigh in favor of Mr. Wallach’s

27   release. Mr. Wallach does not pose a danger to the community. Nor would Mr. Wallach’s

28   release undermine the goals of sentencing. No further punishment is needed to ensure Mr.

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 1   Wallach will not reoffend. While Mr. Wallach’s offense was serious and certainly warranted
 2   custodial punishment, his incarceration has resulted in a traumatic brain injury that will leave
 3   him with permanent physical and mental defects. He will likely need assistance with basic
 4   activities for the rest of his life. Under those circumstances, further incarceration is not needed
 5   to provide just punishment or deterrence.
 6          Moreover, not releasing Mr. Wallach would also run afoul of section 3553(a)(1)(D)’s
 7   mandate that a sentence of imprisonment “provide the defendant with needed educational or
 8   vocational training, medical care, or other correctional treatment in the most effective manner.”
 9   As set forth above, the medical records demonstrate that the BOP’s negligent medical care has
10   resulted in a significant and irreversible decline in Mr. Wallach’s health. The BOP has also
11   demonstrated an inability to provide Mr. Wallach the ongoing care he needs for his complex
12   combination of conditions, such as physical therapy, occupational therapy, and mental health
13   services. Without these therapies, Mr. Wallach’s condition will only decline further. Releasing
14   Mr. Wallach from custody will allow him to seek medical treatment in the community
15   immediately, as well as achieve the other rehabilitative goals of sentencing.
16   V.     CONCLUSION
17          Since his brain injury, Mr. Wallach’s life has been drastically altered. He battles
18   paralysis on the right side of his face, has difficulty using his hands, and has double vision that
19   contributes to his loss of balance and inability to stand or walk on his own. Mr. Wallach
20   respectfully requests that the Court order him immediately released from BOP custody and
21   impose a condition of home confinement while on supervised release.
22
23
     Dated: December 1, 2023                               Respectfully submitted,
24
                                                           /s/ Edward Swanson                           ..
25                                                         Edward Swanson
26                                                         Carly Bittman
                                                           SWANSON & McNAMARA LLP
27                                                         Attorneys for Lewis Wallach
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                                                      13
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